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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
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 FRONTPOINT ASIAN EVENT DRIVEN FUND, :
 LTD, et al.,                                                    :
                                                                 :   ORDER GRANTING MOTION
                                 Plaintiffs,                     :   FOR LEAVE TO FILE
                                                                 :   FOURTH AMENDED
              v.
                                                                 :   COMPLAINT
 CITIBANK, N.A., et al.,                                         :
                                                                 :   16 Civ. 5263 (AKH)
                                 Defendants                      :
                                                                 :
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ALVIN K. HELLERSTEIN, U.S.D.J.:

                 I held a status conference on Thursday, October 21, 2021. I ordered as follows:

                 1. Plaintiffs’ Motion for Leave to File the Fourth Amended Class Action

Complaint, ECF No. 347, is granted, with consent and without waiver of, or prejudice to, any

defenses. The Clerk of the Court shall terminate ECF No. 347.

                 2. All motions to dismiss the Fourth Amended Complaint, on jurisdictional or

substantive grounds, or and party to the Complaint, shall be filed by November 24, 2021.

Opposition papers shall be filed by December 23, 2021. Reply papers shall be filed by January

13, 2022. These dates are not adjournable.



                 SO ORDERED.

Dated:           October 21, 2021                      ______ /s/ Alvin K. Hellerstein______
                 New York, New York                        ALVIN K. HELLERSTEIN
                                                           United States District Judge
